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                          Exhibit B
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                                                                                     LEE WOLOSKY
                                                                              Tel.: (212) 754-4205
                                                                     E-mail: lwolosky@bsfllp.com




                                           June 18, 2018




  BY EMAIL

  Stephen J. Obermeier
  Wiley Rein LLP
  1776 K Street NW
  Washington, DC 20006

         Re:     Broidy Capital Management et al. v. State of Qatar et al., Case No. 18-cv-
                 02421-JFW (C.D. Cal.)

  Dear Steve:

         I have received your letter of June 15 regarding Mr. Muzin’s phone records.

          Mr. Muzin’s phone records were produced to us by a third party in response to a valid
  subpoena to which neither your client nor anyone else objected. There is no protective order in
  place in this litigation. We therefore are under no obligation to treat those records as
  confidential, much less as subject to an Attorneys’ Eyes Only designation. If you have contrary
  legal authority, please send it to us.

          That said, as I represented to you on June 14, we have not provided Mr. Muzin’s phone
  records to the media, and will not do so. I also represented that we will abide by whatever
  protective order is entered in this case. I see that notwithstanding my representations, today you
  publicly filed your June 15 letter containing false and unwarranted allegations against my firm
  and clients.

          We have proposed addressing this issue at the meet and confer we have proposed for
  Wednesday, so that any issues that we are unable to resolve can be brought before the court in an
  efficient manner.
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        Please feel free to contact me if you would like to discuss this further.


                                               Sincerely,

                                               /s/ Lee Wolosky
                                               Lee Wolosky
                                               BOIES SCHILLER FLEXNER LLP
                                               575 Lexington Avenue
                                               New York, NY 10022
